     Case 4:20-cv-00224-DPM-JJV Document 60 Filed 11/02/20 Page 1 of 1



           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION

LESLIE YOUNG
ADC #709094                                                  PLAINTIFF

v.                     No. 4:20-cv-224-DPM-JJV

JEFFERY STEIVE, Director, Health
Care Services; RORY GRIFFIN, Deputy
Director, Health and Correctional Services;
GEORGE WILSON, Medical Administrator,
ADC; JOSEPH HUGHES, Doctor;
and WELLP ATH                                            DEFENDANTS

                                ORDER
     The Court has reviewed Magistrate Judge Volpe's partial
recommendations, Doc. 55, and Young's objections, Doc. 59.         F ED.   R.
CIV. P. 72(b)(3).   The Court would benefit from a response from
defendants to Young's objections-particularly, her points about
exhaustion of remedies and Griffin and Wilson's membership on the
hepatitis C committee. Response due by 16 November 2020.
     So Ordered.

                                                   v
                                  D .P. Marshall Jr.
                                  United States District Judge
